                                           IN THE
                                UNITED STATES DISTRICT COURT
                                          FOR THE
                                WESTERN DISTRICT OF VIRGINIA
                                     DANVILLE DIVISION

  UNITED STATES OF AMERICA                               )
                                                         )
  v.                                          )
                                        )         Criminal No. 4:18-CR-00011
                                                        )
  MARCUS JAY DAVIS, et al                               )


  UNITED STATES’ OPPOSITION TO ROSS’S MOTION FOR BILL OF PARTICULARS

         The United States of America respectfully opposes Defendant Ashley Ross’s Motion for

  Bill of Particulars with Respect to the United States’ Notice of Intent to Introduce Rule 404(B)

  Evidence (ECF 724), in which Defendant Ross seeks a detailed Bill of Particulars regarding one

  incident contained in the Racketeering Conspiracy (Count 1) charge in the First Superseding

  Indictment. The Court has previously denied an almost identical motion. As grounds for this

  opposition, the United States asserts the following:

                                            Legal Authority

         The Federal Rules of Criminal Procedure require that an indictment be “a plain, concise,

  and definite written statement of the essential facts constituting the offense charged.” Fed. R.

  Crim. P. 7(c)(1). “[A]n indictment is sufficient if it, first, contains the elements of the offense

  charged and fairly informs a defendant of the charge against which he must defend, and, second,

  enables him to plead an acquittal or conviction in bar of future prosecutions for the same offense.”

  Hamling v. United States, 418 U.S. 87, 117, 94 (1974); United States v. Hooker, 841 F.2d 1225,

  1227 (4th Cir.1988).


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         The purpose of a bill of particulars is to fairly apprise the defendant of the charges against

  him so that he may adequately prepare a defense and avoid surprise at trial. United States v.

  Automated Med. Labs., Inc., 770 F.2d 399, 405 (4th Cir. 1985) (citation omitted). A bill of

  particulars is unnecessary as long as the indictment fulfills those purposes. United States v.

  Butler, 885 F.2d 195, 199 (4th Cir.1989). “The bare elements of a substantive offense coupled

  with the date the [G]overnment alleges the offense occurred are ordinarily sufficient to avoid” a

  bill of particulars. United States v. Frye, 5:01–CR–30058, 2002 WL 385574, *2 (W.D.Va. Feb.

  20, 2002).

         Indictments, however, are not read in isolation. The Fourth Circuit has long held that the

  discovery provided to the defendant also informs the language of the indictment and provides the

  defendant with adequate notice of his charges. See also United States v. Najera, 585 F. App’x

  185, 185 (4th Cir. 2014) (finding that the district court did not abuse its discretion in denying a

  motion for a bill of particulars because the government provided full discovery); United States v.

  Soc'y of Indep. Gasoline Marketers of Am., 624 F.2d 461, 466 (4th Cir. 1979) (upholding denial

  of motion for bill of particulars where “the Government supplied the defendants with copies of all

  grand jury testimony, access to all documents subpoenaed from non-defendants; all documents

  voluntarily submitted to the Government by third parties in the course of the investigation; and all

  available Brady material.”); United States v. Schembari, 484 F.2d 931, 935 (4th Cir. 1973)

  (denying motion where “the underlying objectives of a Rule 7(f) motion were fully satisfied by

  the government’s voluntary disclosure of its file”); United States v. Workman, No. 2:15-CR-2-1,

  2015 WL 3693289, *2–3 (N.D.W.Va. June 11, 2015); United States v. Ziccardi, No. 3:14CR-107,

  2014 WL 5459939, *2 (E.D.Va. Oct. 27, 2014) (“A defendant is not entitled to ‘an unnecessary


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  bill of particulars, where the underlying objectives of a [Rule 7] motion are fully satisfied by

  informal and formal discovery.’”) (citation omitted).

                                              Argument

         The indictment in this case is sufficient to place the Defendant on notice of the charges

  against her, and thus her motion should be denied. Defendant seeks a bill of particulars as to only

  one paragraph within Count I of the First Superseding Indictment, in which she is charged with

  Racketeering Conspiracy. To prove a RICO conspiracy, the government must establish “that an

  enterprise affecting interstate commerce existed; ‘that each defendant knowingly and intentionally

  agreed with another person to conduct or participate in the affairs of the enterprise; and . . . that

  each defendant knowingly and willfully agreed that he or some other member of the conspiracy

  would commit at least two racketeering acts.’” United States v. Mouzone, 687 F.3d 207, 218 (4th

  Cir. 2012). See also United States v. Abed, 203 F.3d 822 *10 (4th Cir. 2000) (unpublished)

  (quoting United States v. Posada-Rios, 158 F.3d 832, 857 (5th Cir.1998) (holding that the elements

  of Section 1962(d) are “(1) that two or more people agreed to commit a substantive RICO offense

  and (2) that the defendant knew of and agreed to the overall objective of the RICO offense.”).

  The statute contains no requirement of some overt act or specific act, unlike the general conspiracy

  provisions applicable to federal crimes. Salinas v. United States, 522 U.S. 52, 63 (1997).

         Here, the elements of the RICO conspiracy, as well as details of the enterprise and its

  racketeering activity, have been adequately pled, making a bill of particulars unnecessary:

         (1) The First Superseding Indictment contains a detailed description of the Rollin 60s Crips

             enterprise, including how the enterprise makes money, how members are admitted, the




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             organization of the gang, and the types of racketeering activity the enterprise

             conducted.

         (2) The First Superseding Indictment details the racketeering activity in which the co-

             conspirators engaged.

  The allegations in Count I of the First Superseding Indictment contain information supporting each

  element of the RICO conspiracy statute.

         Moreover, the First Superseding Indictment does not just generically allege that the

  defendants participated in racketeering activity. The First Superseding Indictment provides the

  specific racketeering activity engaged in by each defendant, by date. See Par. 12. Further, the

  First Superseding Indictment provides additional details to help Ross prepare her defense at trial,

  such as, for example, the purpose of the enterprise (¶ 7) and each co-conspirators’ role within the

  organization (¶ 9). The elements of the offense, the language of the statute, and additional factual

  allegations provide Ross with sufficient notice of the charges against her. See, e.g., United States

  v. Strickland, No. 7:06-CR-45-BO-2, 2007 WL 167331, at *2 (E.D.N.C. Jan. 18, 2007) (denying

  motion for bill of particulars in RICO case); United States v. Cuong Gia Le, 310 F. Supp. 2d 763,

  774 (E.D. Va. 2004) (in denying motion to dismiss, court held that RICO conspiracy allegations

  in indictment sufficient against defendant).

         Further, extensive discovery has been provided regarding this count, including the

  defendant’s own statements and prior testimony, the recorded statements of her co-conspirators,

  grand jury transcripts of witnesses and co-conspirators, police reports, ballistic evidence, cellular

  data, interview videos, and multiple Facebook accounts. The organized, detailed, and voluminous

  discovery in the case helps inform the indictment and provides notice of the charged offense. This


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  is especially true in this case, where, in addition to the extensive discovery, the United States has

  also provided copies of its own work product (e.g., analysis of Facebook accounts) directing the

  Defendant to detailed, key information and evidence in this case, such as defendant statements and

  admission to different incidents. As courts in this district have long held, discovery in a case,

  especially extensive discovery, eliminates the need for a bill of particulars. See, e.g., United

  States v. Byrd, No. 1:07CR0005, 2007 WL 773924, at *1 (W.D. Va. Mar. 12, 2007) (Jones, J.)

  (“The government has confirmed that it will engage in extensive voluntary disclosure in this case.

  Such disclosure is an important factor to consider in deciding whether to order a bill of

  particulars.”); United States v. Fitzgerald, No. CRIM. 305CR00013, 2006 WL 734005, at *1

  (W.D. Va. Mar. 21, 2006) (Moon, J.); United States v. Scruggs, No. 96-0054-C, 1997 WL 128113,

  at *1 (W.D. Va. Mar. 18, 1997) (Michael, J.).

         By requesting that the United States provide additional information, the Defendant is

  essentially requesting that the Court order the United States to prepare her defense. The only

  information missing from these allegations in this Count are why the Defendant committed these

  crimes and only the Defendant possesses that information. As the Fourth Circuit has repeatedly

  held, a bill of particulars is not intended to be a detailed evidentiary proffer by the government.

  See, e.g., United States v. Anderson, 481 F.2d 685 (4th Cir.1973), aff’d on other grounds, 417 U.S.

  211 (1974).

         Nor does the Due Process Clause does not give defendants a right to have the government

  construct the defense and identify defense witnesses. United States v. Marrero, 904 F.2d 251,

  261 (5th Cir. 1990) (“While the Supreme Court in Brady held that the government may not

  properly conceal exculpatory evidence from a defendant, it does not place any burden upon the


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  Government to conduct a defendant's investigation or assist in the presentation of the defense's

  case.”); United States v. Griggs, 713 F.2d 672, 673–74 (11th Cir. 1983); United States v. Herbst,

  641 F.2d 1161, 1168 n. 11 (5th Cir. 1981); United States v. Brown, 628 F.2d 471, 473 (5th Cir.

  1980); United States v. Prior, 546 F.2d 1254, 1259 (5th Cir. 1977); United States v. Ruggiero, 472

  F.2d 599, 604 (2d Cir. 1973).

            Finally, when a defendant in the related Bloods case made a similar request, the Court

  denied the motion. Order, ECF No. 393, United States v. Anthony et al, 4:18-cr-12. To the extent

  the Court has treated these cases identically, this ruling is the law of the case. “Under the law of

  the case doctrine, a court should not reconsider matters already decided in a case except in limited

  circumstances, such as a change in the applicable law. Otherwise, there would be little finality to

  judicial rulings, ‘each motion becoming nothing more than the latest installment in a potentially

  endless serial.’” United States v. Knox, 363 F. Supp. 2d 845, 848 (W.D. Va. 2005) (Jones, J.)

  (quoting Pinney v. Nokia, Inc., 402 F.3d 430, 453 (4th Cir. 2005) (quotation omitted)).

            WHEREFORE, the United States requests that the motion for a bill of particulars be

  denied.

                                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing has been electronically filed

  with the Clerk by CM/ECF system which will send notification of such filing to all counsel for the

  Defendants, on this 12th day of September, 2019.


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                                                      Assistant United States Attorney




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